Case 1:20-cv-22228-CMA Document 1-3 Entered on FLSD Docket 05/28/2020 Page 1 of 14




                             Exhibit
                                       3
Case 1:20-cv-22228-CMA Document 1-3 Entered on FLSD Docket 05/28/2020 Page 2 of 14




      May 23, 2019

      VIA FEDEX
      Mr. Thomas Svanstedt
      American Golf Tours
      1602 Alton Road
      Suite 72
      Miami Beach, FL 33139

      Re: Affordable Aerial Photography, Inc. v. American Golf Tours
          Our File No.: 00022-0064


      Dear Mr. Svanstedt,

      We write on behalf of our client Affordable Aerial Photography, Inc., a photographer,
      for purposes of resolving a case of copyright infringement against you by our client.
      This demand is privileged from disclosure pursuant to FRE Rule 408.

      Please provide this letter to your general liability insurance carriers or other providers of
      insurance that may cover this claim and refer them to the enclosed demand pursuant to
      § 627.4137, Florida Statutes, for insurance information in this matter.

      Affordable Aerial Photography, Inc. (“AAP”)
      Robert Stevens is a high-end real estate photographer who makes his living
      photographing million dollar homes for real estate agents. Stevens is an employee of his
      company, AAP, which provides photo shoots to a client’s specifications. Stevens is self-
      taught, but his photographs rival those taken by photographers who charge thousands
      more. AAP licenses its photos to agents pursuant to a written license. The license is
      granted only to the agent for whom the photos were taken.

      AAP retains all copyrights to its photographs. AAP licenses its copyrighted Works, such
      as the one in this case, for commercial use.

      In December of 2012, AAP created an image entitled “Lost_Tree_Village_1”, hereinafter
      referred to as the “Work.”

      The Work at issue is shown below.
Case 1:20-cv-22228-CMA Document 1-3 Entered on FLSD Docket 05/28/2020 Page 3 of 14

      Mr. Thomas Svanstedt
      American Golf Tours
      May 23, 2019
      Page 2




      AAP registered the Work with the Register of Copyrights on August 02, 2013 and was
      assigned the registration number VA 1-947-095, a copy of which is enclosed.

      Infringement by American Golf Tours (“AGT”)
      The infringement at issue was identified on March 26, 2019. We have enclosed
      contemporaneous evidence of the infringement by AGT.

      You have employed our client’s Work in at least the manner indicated in the evidence
      attached. Your unauthorized use commenced on at least the date indicated above. You
      are fully aware that the Work you used is our client’s Work. No one from your company
      ever sought a license from our client to use the Work for any purpose.

      You have copied, displayed, and distributed our client's Work without permission,
      license, or consent. The use of a creator's photographic image without written consent
      or license violates the United States Code, Title 17, and The Copyright Act. The
      Copyright Act provides for entry of an injunction directing removal of the offending
      materials pending litigation. This letter shall serve as formal notice that you immediately
      cease and desist all unauthorized uses of our client’s Work. Any such further uses shall
      be at your peril.

      If you possess a contract, license, agreement or writing on which you will rely for
      authorization of your use of our client’s Work, please provide us with this evidence so
      we may avoid further controversy or litigation. Otherwise, we will be forced to assume
      that your use violated the law.
Case 1:20-cv-22228-CMA Document 1-3 Entered on FLSD Docket 05/28/2020 Page 4 of 14

      Mr. Thomas Svanstedt
      American Golf Tours
      May 23, 2019
      Page 3


      Damages
      Copyright law provides several different elements of compensation to AAP when a
      work is infringed or altered. Section 504 permits AAP to recover actual damages plus
      “any additional profits of the infringer that are attributable to the infringement and are
      not taken into account in computing the actual damages,” or statutory damages of up to
      $150,000 per work infringed if the registration predated the infringement. AAP can
      present both damages theories to the jury and select the higher award any time prior to
      entry of judgment.

      Academic studies have demonstrated that the use of good quality photographs more
      effectively market and advertise products and drive sales. AAP’s photographs are of the
      highest quality. AAP’s photographs are also scarce since it is one of the only sources of
      such quality photographs.

      AAP’s damages are not limited to what it would have agreed to license the Work for
      prior to the infringement. Rather, AAP’s actual damages will be measured by the fair
      market value of the photograph considering AGT’s use to sell and promote its business.
      AAP’s actual damages must be measured in light of AGT’s use of AAP’s high quality
      and unique Work.

      This is consistent with federal courts’ approach to broadly construing the term “actual
      damages” to favor victims of infringement. See, e.g., Davis v. Gap, Inc., 246 F.3d 152, 164
      (2d Cir. 2001). The fair market value approach for calculating damages is an accepted
      approach to valuing the defendants’ uses of photographs. See Leonard v. Stemtech Int'l,
      Inc., Nos. 15-3198, 15-3247, 2016 U.S. App. LEXIS 15565 (3d Cir. Aug. 24, 2016). In
      addition, AAP can offer evidence of the actual cost to take the photograph infringed on a
      time and materials basis.

      Section 504 of the Copyright Act permits AAP to recover actual damages plus “any
      additional profits of the infringer that are attributable to the infringement and are not
      taken into account in computing the actual damages.” Therefore, AAP will also be
      entitled to AGT’s profits from the infringement, based upon the revenue AGT earned in
      connection with the use of AAP’s Work.

      Alternatively, AAP could seek statutory damages for infringement in an amount of up
      to $30,000 per work infringed if the registration predated the infringement. There is also
      the possibility that a judge or jury could determine that AGT’s infringement was willful.
      If AGT’s infringement was shown to be willful, the statutory damage award would
      increase to an amount up to $150,000 per work infringed.
Case 1:20-cv-22228-CMA Document 1-3 Entered on FLSD Docket 05/28/2020 Page 5 of 14

      Mr. Thomas Svanstedt
      American Golf Tours
      May 23, 2019
      Page 4


      Demand
      In order to determine how to proceed, please provide us with information and
      documents showing:

      1.     the full nature and extent of the use of our client's Work, in any and all formats;

      2.     representative copies in any and all tangible form and media in which our
             client's Work was incorporated or employed; and

      3.     the source of the Work.

      Upon receipt of this information we will consider and determine an appropriate amount
      required to be paid to our client in compensation.

      Please carefully consider this letter and the associated exhibits and provide them to your
      attorneys and insurance carriers. If we do not receive a response from you or a
      representative by June 6, 2019, we will take further steps to protect our client’s rights.
      We look forward to your prompt response.

      Sincerely,

      SRIPLAW




      Joel B. Rothman

      JBR/stj
      Enclosures
Case 1:20-cv-22228-CMA Document 1-3 Entered on FLSD Docket 05/28/2020 Page 6 of 14
Case 1:20-cv-22228-CMA Document 1-3 Entered on FLSD Docket 05/28/2020 Page 7 of 14
Case 1:20-cv-22228-CMA Document 1-3 Entered on FLSD Docket 05/28/2020 Page 8 of 14
Case 1:20-cv-22228-CMA Document 1-3 Entered on FLSD Docket 05/28/2020 Page 9 of 14
Case 1:20-cv-22228-CMA Document 1-3 Entered on FLSD Docket 05/28/2020 Page 10 of 14
Case 1:20-cv-22228-CMA Document 1-3 Entered on FLSD Docket 05/28/2020 Page 11 of 14
Case 1:20-cv-22228-CMA Document 1-3 Entered on FLSD Docket 05/28/2020 Page 12 of 14
Case 1:20-cv-22228-CMA Document 1-3 Entered on FLSD Docket 05/28/2020 Page 13 of 14




      May 23, 2019

      VIA FEDEX
      Mr. Thomas Svanstedt
      DBA American Golf Tours
      1602 Alton Road
      Suite 72
      Miami Beach, FL 33139

      Re: Affordable Aerial Photography, Inc. v. American Golf Tours
          Our File No.: 00022-0064


      Dear Mr. Svanstedt,

      We write pursuant to § 627.4137, Florida Statutes, to demand a response with insurance
      information for each known policy of liability insurance your clients may have that may
      provide coverage for all or a portion of our client’s claims in this matter:

          (a) The name of the insurer.
          (b) The name of each insured.
          (c) The limits of the liability coverage.
          (d) A statement of any policy or coverage defense which such insurer reasonably
              believes is available to such insurer at the time of filing such statement, and
          (e) A copy of the policy.

      Thank you in advance for your anticipated cooperation.

      Sincerely,

      SRIPLAW




      Joel B. Rothman

      JBR/jcj
Case 1:20-cv-22228-CMA Document 1-3 Entered on FLSD Docket 05/28/2020 Page 14 of 14




      June 14, 2019

      VIA FEDEX and EMAIL: info@americangolftours.com
      Mr. Thomas Svanstedt
      Thomas Svanstedt dba American Golf Tours & Academy
      1602 Alton Road
      Suite 72
      Miami Beach, FL 33139

      Re: Affordable Aerial Photography, Inc. v. Thomas Svanstedt dba American Golf
          Tours & Academy
          Our File No.: 00022-0064

      Dear Mr. Svanstedt,

      We write this follow up letter on behalf of our client Affordable Aerial Photography, Inc.
      for the purposes of resolving a case of copyright infringement against you by our client.
      This demand is privileged from disclosure pursuant to FRE Rule 408.

      Enclosed please find our prior letter dated May 23, 2019, wherein we detailed the basis
      of the copyright infringement claim against you, including the evidence of infringement.

      We note that a review of the accused infringing webpage shows that the infringement
      has not been removed. It is imperative that you respond to us. If we do not hear from
      you, we will be forced to take further steps to protect our client’s rights, including filing
      a lawsuit against you. We also repeat our demand that you tender this claim to your
      insurance carrier. We look forward to your prompt response.

      Sincerely,

      SRIPLAW




      Joel B. Rothman

      JBR/jcj
      Enclosures
